            Case 1:18-cr-00135-CRB-BAM Document 81 Filed 08/06/19 Page 1 of 2


 1   DAVID A. TORRES AND ASSOCIATES
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     BANDAR ALNAGGAR
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                        ) Case No.: 18-cr-00135-DAD-BAM
10   UNITED STATES OF AMERICA,                          )
                                                        )
11                   Plaintiff,                         ) DEFENDANT’S REQUEST AND
                                                        ) WAIVER OF APPEARANCE; ORDER
12           vs.                                        )
                                                        )
13   BANDAR ALNAGGAR,                                   )
                                                        )
14                   Defendant                          )
15           Defendant, BANDAR ALNAGGAR, hereby waives his appearance in person in open
16   court upon the Status Conference set for Monday, August 12, 2019 in Courtroom 8 of the above
17   entitled court. Defendant hereby requests the court to proceed in his absence and agrees that his
18   interest will be deemed represented at said hearing by the presence of his attorney, DAVID A.
19   TORRES. Defendant further agrees to be present in person in court at all future hearing dates set
20   by the court including the dates for jury trial.
21

22   Date: July 31, 2019                                         /s/Bandar Alnaggar ___
23
                                                                 BANDAR ALNAGGAR

24

25
     Date: July 31, 2019                                         /s/David A. Torres____ ___
                                                                 DAVID A. TORRES,
                                                                 Attorney for Defendant
           Case 1:18-cr-00135-CRB-BAM Document 81 Filed 08/06/19 Page 2 of 2


 1                                              ORDER

 2          Good cause appearing.

 3          IT IS HEARBY ORDERED that defendant BANDAR ALNAGGAR is hereby excused

 4   from appearing at this court hearing scheduled for August 12, 2019.

 5
     IT IS SO ORDERED.
 6

 7      Dated:    August 5, 2019                            /s/ Barbara A. McAuliffe   _
                                                      UNITED STATES MAGISTRATE JUDGE
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